Case 3:99-cv-00469-SMR-.Document 1 Filed 12/13/99 Page 1 of 36 tetas Samm e

cASTEEN Re TRICT esas
IN THE UNITED STATES DISTRICT COURT FOR THE DEC 1 g 1999
EASTERN DISTRICT OF ARKANSAS °

CITY OF MARION, RICHARD WILLIFORD

PAUI. COLEMAN JR,., by J.P. Cockrill under his

Power of Attorney; JULIA C. COCKRILL, by J.P. Cockril
under his Power of Attorney; and HAZEL C. DICKEY,

 

 

by J.P. Cockrill under his Power of Attorney PLAINTIFFS
| a
VS. (J-C-99- 467 Tice sng to Dit ge SESH
and to Magistrate Judge.» LZ Al Gis
CITY OF SUNSET, and DR. JOHN GRIFFEE,
HOOVER WILLIAMS, and SCOTT FERGUSON DEFENDANTS
PETITION FOR REMOVAL
NOTICE OF REMOVAL

Comes the defendant, the City of Sunset, by and through its attorney, WILSON &
VALLEY, Attorneys at Law and for his Notice of Removal, and states:

1, That on an about November 19, 1999, the plaintiffs filed their Complaint in
the Circuit Court of Crittenden County, Case No. CIV. 97-419. The plaintiff
in the cause is the City of Marion as a Municipal Entity; Richard Williford,
Individuatly; Paul Coleman, Jr., by J. P. Cockrill, under his power of
attorney; Julius C. Cockrill, by J. P. Cackrill under his power of attorney;
Hazel C. Dickey, by J. P. Cockrill, under his power of attorney. The
plaintiffs are being represented in the cause of action by the Honorable
James C. Hale, III, City Attorney for the Municipal Corporation of Marion,
Arkansas.

2. The defendants are filing an Answer/ Alternative Motion to Dismiss,

contemporaneous with this motion. Further, the defendants are

 
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simu taneously filing an additional Notice of Removal with the Circuit Court
of Crittenden County, Arkansas, pursuant to 23 U.S.C. § 1446.

3. The original Complaint, filed by the plaintiffs, alleges violations of the Civil
Rights of the defendants and specific violation to the 14° and 15"
Amendments of the United States Constitution, see specifically U. 5.
Constitution 14 section One (1) and U.S. Constitution 15 section one (1).

4, That the defendants are entitled to a separate and independent claim for
cause of action within the jurisdiction of the Federal Court as provided by
42 U.S.C. § 1331, independent of the Federal question raised by the violation
of the 14" and 15 Amendment.

5. That the City of Sunset is a 98% African-American municipality and the
proposed Mandamus pleading of the plaintiff would prevent African-
Americans from exercising their right to vote.

6. That plaintiff, the City of Marion has engaged in illegal racial
gerrymandering in its election policies which invokes a claim on the face of
their Complaint for violation of the Federal Voting Rights Act as amended,
the 1964 Civil Rights Act as amended, and the 14" and 15° Amendments to
the Constitution.

7. That the absence of specific citation to the Federal Voting Rights Act and the
Federal Civil Rights Act or the 14" and 15" Amendments on the face of the
plaintiff's pleading does not obviate the Federal question.

8. That this court must look to the totality of the pleading to determine whether
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10.

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a Federal question is posed.

That 28 U.S.C. § 1441 (a)(b) and (c), provides the authority for removing this
action to the Federal District Court. An original Federal question of
jurisdiction is vested in the Federal District Court under 29 U.S.C. § 1331
regarding cases arising under Constitutional Laws of the United States
Constitution regardless of the amount in controversy.

For this cause of action, this court has both original and removal jurisdiction
under the United States Constitution.

The plaintiff's Complaint clearly states a claim that arises and involves the
authority and protection of the Unites States Constitution on the specific
issue in controversy.

The original jurisdiction of the Federal question is vested pursuant to U.S.C.
§ 1331 and removal is proper under the Federal Removal Statute.

That the venue is proper in this court, true and correct copy of pleading,
served upon the defendant is attached hereto (Exhibit A) and incorporated
by referenced, there constituting al] process, pleadings and orders along
with notice of hearing, these constitute all pleadings, process and orders
which have been served on the defendants. An answer filed on behalf of the
defendants also attached (Exhibit B) for the convenience of the court.
Pursuant to 28 U.S.C. § 1446 et. seq., the defendant hereby gives notice of the
removal of this action from the Circuit Court of Crittenden County, to the

United States District Court of the Eastern District of Arkansas, Eastern
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Division.
WHEREFORE, the defendants, pray that this action be removed from the Circuit
Court of Crittenden County, to United States District of the Eastern District of Arkansas,

Fastern Division in accordance with 28 U.S.C. § 1331, 1441 et. seq., and 1446 et. seq. and

for all other proper relief.

Respectfully Submitted,

   

By:

 

" Andre’ K. Valley a

CERTIFICATE OF SERVICE

Idocertify that a copy of the foregoing pleading has been forwarded to the attorney
listed below, via U.S. Mail proper postage affixed on this 10" day of December, 1999.

James C. Hale, HI Honorable Ralp Wilson, Jr.

      
 
   

Atlorney for Plaintiff Judge
66 Mound City Road P.O. Box 506
Marion, AR 72364

 

‘Andre’ K. Valley
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 5 of 36

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IN THE CIRCUIT COURT OF CRITTENDEN COUNTY, ARKANSAS

CITY OF MARION, PLAINTIFFS
RICHARD WILLIFORD

PAUL COLEMAN FE.. by 1.P. Cockoill under bis Power of Attomey

RILIA C. COCKRELL, by ]P. Cockrill under his Power of Attomey

a4 HAZEL C. DICKEY, by 32. Cockrill under his Powes of Atiomey 2 oy

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VS. NO. CIV-97-419 ss" on
CITY OF SUNSET, and DEFENDANTS 7
DR. JORN GRIFFEE , ee |
HOOVER WILLIAMS, Bet SO
and SCOTT FERGUSON RB 3

= wt

 

DECLARATORY JUDGMENT. OK IN THE ALTERN
INJUNCTIVE. RELIEF

Comes the plaintiffs, the City of Marion, Richard Williford, Paul Coleman, Jr., by 1P.
Cockrill under his Power of Attorney, Iulia. C. Cockrill, by 1.P. Cockerill under bis Power of
Attomey, and Hazel C. Dickey, by JP. Cockrill under his Power of Attorney, by and Gurough
their attorpey, James C. Hale, FT, and for their Complaint for kssuance of Writ of Mandamis and
Declasstory Judgment, or in the Altemative, Injunctive Rehef, against the Defendants, states as
follows:

COUNT!

1. That the Pirintiff, City of Marion, is a municipal corporation duly organized and
existing under the laws of the State of Ariainsas.

2. That the scparate Plaintiffs, Richant Williford, Paul Coleman, Jr., by LP. Cocksilt
onfer his Power of Attorney, Fuze C. Coclaill, by J.P. Cockrill under lis Power of Attorney, and
Haze! €. Dickey, by ].P.-Cockrill undcr his Power ef Attorncy, (herensaftes referred ta as
jandowsers,) arc al landowners of real propaty within tie area to be Voted on in the City of
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 6 of 36

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Sunset’s proposed Deceunber 20, 1999 special annexation election.

3.  Thaton April 21, 1997, the landowners filed their Petition for voluntary
annceation of their land into the City of Marion. (See exhibit “A” attached hereto)

4, That on May 27, 1997, the Crittenden County Cent granted the tandowners
Petition and entered its Order annexing the 722.72 acres into the City of Marion. (See exhibit
"B" antached hereto}

5. That under the procedure sct forth in ACA. 14-40 6O1, et seq. the voluntary
anncxatiog of the 722.72 acres was completed, pursuant to A.C.A. 14.40 603, pon entry of the
sanction order by the county cout. The only method for s challenge to such annexation 18 for
‘an “interested person” to challenge suc atutoxation on the grounds set forth in A.C.A. 14-40.
604.

6. That on May 27, 1997, the City of Marion passed Resolution No. 126 accepting
the 722.72 acres inte the City of Marion, Arkannas as required by A.C_A. 14-40-603 and ACA.
14-40-6096, (See exhibit “C” atteched hereto)

+ Trat on Jone 27, 1999 10 Case No. CIV-97-463, the City of Sunset filed a0
Appeal from Decision of County Judge allowing annexation of certain properties and Complaint
to stop tht petitioner landowners Som: annexing their poperty inte the City of Marion.

8. That on October Z, 1997 de City of Suuset's challenge t tie City of Marian’
anuexatiot: onder was disunissed with prejutice by the Honorable David Burnett. (See extabit
“Ty” attached hereto}

3. ‘That on October 23, 1997, CO-97-107, Resotution #126, CO-97-52 and the plat of
the amexed aren were forwanlerl hy the Crittenden County Clerk and filed with the Secretary of

State office and filed purguant t A.C.A. 14-40-605. (See exhibit “PB attached hereto)
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Commissioncrs arc the persons responsible, pursuant to A.C_A. 7-4-167, for the conduction of

the special election conceminy the Sunset annexation.

15. That A.C.A. 7-5-208 specifically proveles thal the defendant Board of Ficction
Commissioners are responsible for preperation of the bullet for the special electinn.

16 That on May 27, 1997, the Crinenden County Court catered its Onder Granting
Amicxation concerming the voluntary anncaxation of the. 722.72 acres into the City of Manion. A
copy of such ordey is atteched hereto. labeled Attachment” 5" and incorporated by reference
herein as though set forth word for word. Pursuant to the terms of such Order and A.C.A. 14-40-

603, such voluntary annexation was effective upon the entry of the Order Granting Annexation
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by the Crittcaden County Court.

17. That a large portion of the 722.72 acres which were ammexed into the City of
Marion on May 27, 1997, at the request of a majority of the landowners of such real property, arc
includes in the 1,426 acre tract of land thst is the subject of the proposed involuntary anneration
election scheduled to be beld by the City of Sunset on December 20, 1999.

18, That the involuntary annexation ststuiary procedure providing the legal authority
for the clection called for by Sunset is act forth in A.C.A. 14-40-30], et $0q. ALC.A. 14-80-3014
specifically states that:

“the provision of this subchapter shall not be construed to
give any muasicipality the authority to anisex any postion of
senther cily or wivorporated town.”

49 That as a matter of Jaw, the Defendant, City of Sunset, has no lege! right or
auibority of any nature or kind to conduct an election concerning the annexation of real property
that has already been annexed to the Plaintiff, City of Main. Accordingly the City of Marion is
entitiod 19 declaratory jndgment that the city of Sunset hax no auftarity pursuant to A.C.A. ié-
40 301, ct seq, to hold an election concerning any partion of the 722,72 acres previously
yvoluntanly aanexed info the City of Maxion.

20. That the City of Masion and the larulowaers have the autbonty, purtiant to its
statutory privileges and rights sot forth: in ACA. 14-40-0603 god AC.A. 14-46-301, to request
tha ¢ Writ of Mxodamus be issued to the defendants in this action eanceming the form of the
ballots prepared by the Defendants prursumt (0 ACA. 7-$-208{g}. Suck writ should compe! the
defendande terprertwene the porely rninieterist Canty of removing. the logal descsiption of wry of the
722.72 acres previously vohantarily anncxed to the City of Marion from the legel description of

the acreage to be considered at the proposed election to be held or Sunset on December 20, ¥O95.
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Zt. That in the ahtemative tw issuing a Wit of Mandamus the Cowt should issue
preliminary and permanent injunctive relief spanst the Defendant City of Suaset and the
defendants who are tre members of the Crittenden Coumty Board of Election Commissioners.
Sach tajunction relief should cnjoin the defendants from conducting this special clection,
presently xet fhr December.20, 1999, conceming the annexation to City of Sunset of the 1.426
sore tract, unt such time as the City of Sunset complies with the statutory procedures set forth in
ACA. 14-40-303, ot. seq and eliminate from its legal description si) the property that was
previously annexed into the City of Marion.

22. —- Tinat there ic no adoquete semedy at law a: that once the election is cornducted and
if the majority of the electors vote for sach annexation, the piaintifls property will be clouded
pending zn appeal of the election.

33. Thet.in the altexnative, the City of Marion and the landowners state that it is
entitled to injonctive eclief in that the City of Marion will suffer irreparable harm if the proposed
December 20, 1999 election is held conceming the 722.72 acres that have been annexed into the.
City of Marion. Such irreparabic han will include, Inet ie not lumited to, the following:

fa} - Because Gf the cloud the special chction will place on the portion of tre 722.72
acces included in the city of Sunsets special vloctiun desc phon, the City of
Masion's cinctions for city officials, cay bond neue elections, and powatially say
schoo} board elections sail be subject to be challenged in the connis.

(6) Because of the cloud the special clection wit! plnee on the portion of the ‘722.72
wares included in the city of Sunsct’s special clection description, any redistricting
of city wards ot precivets will be subject tu be chatlvaged in the courts.

(c) Because of the cloud the special election will place on the portion of the 722.72
acres Included in the city of Sunset’s special election descnpton, any issues
concerning the plaming, development, provision of services, and allocation of

city financial resources to such real property will be subject to be challenged in
fhe courts.
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 10 of 36

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(dj Because of the cloud the special election will piace on the puctioa of the 722.72
acres inchided in the city of Sunset's special clacnem description, the City of
Marion wiil saffer adverse consequences concerning the allocation of sales 10x
monies anid property tances,

{e} — Berause of the clenxi the special election wil! place on the portion of the 722.77
acces. inchided in ihe city of Sunset’s special election description, the City af
Miaaer will Suffer adverse conscquenccs concerning the aNocation of staic
“tarnback” seonirs.

(f) Tie landowners cannot be certain which municipality will provide services,
determing zoning on their property er whe to pay sales tax to.

24. = That the City of Marion ix not attempting to seek inpunctive relief concerning the
portion of the 1,426 acre tract that is not prchided in the 722.72 acres thal have been previously
amtexed into the City of Marion.

25. =‘ That the City of Sunset wilt suffer no hanm if cither the mandamws or injunction is
granted as Ure City of Sunset can past an ordinance and hold an election concemmeg the
annexation of thet portion of the 1,426 scre tract that does not inchide the 722.72 acres
previously voluntarily annexed inte the City of Marion.

WHEREFORE, the Petitioners prays that the Court:

fa) Issue a declaratory judgment that the City of Sunset hes no Iegad authority
pubtaaait to BCA. 1440-603 and &.C.A. 14-40-30] to attempt to annex any partion of the
72272 ants thon have previously been sonexed inic the City of Marion,

{6} 0s Issue a declaratory yudgrsent that the 722.72 acres were annexed to the City of
Marion ane are a pat of the City of Marion city limits,

fc} Issue a Writ of Mandamus against the Deferniants herein compelling the
Tofeadants to perform the pursly ministerial duty of removing finm the legal description the

portion of the 722.72 acres of land previously annexed into the City of Merion from the legal -
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 11 of 36
Dec-23-99 OF:10A WILSON & VALLEY, Attys 87O 3368 #80320 P.oa9

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description of the land to be descrited on the balfot for the special clectian currently scheduled
for December 20, 1999:

(d) sin the alternative, igeue both a preliminary injunction enjoining the Defendants
from. conducting the schoduled special clection on December 20, 199. tw the extent that mich
election involves any portion of the 722,72 acres that have been previously annexed inte the City
of Marion and a pennanent injunction apsinst the City of Sunset from calling any election
attempting tw anocx to Sunset any portion of the 722.72 acres that have previously been amexed
into the Coty of Marion;

(e} = For their costs and attomecys fees expended herein:

{f) For any and all other lega! and property relief to which they arc entitled.

Respectfully Submitted,

 

66 Mound City Road
Maron, AR 72364
(870) 739-1888
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 12 of 36

Bec- 13-99 O9: 1124 WILSON & VALLEY, Attys B70 338 8030 FP.Lo
. BUF! ITEP ESSERE Pili-37

IN TRE COUNTY COURT OF CRITTENDEN COUNTY, ARKANSAS

IN THE MATTER OF ANNEXATION OF- Cait 34
A 712.72 ACRE TRACT OF LAND LYING IN
SECTIONS 10, 11,.14-and LOTS 7 $9, and 10 OF

 

SPANISH GRANT NOS. 2323 AND 7325, T-7-N,

B-2-E, CRITTENDEN COUNTY, ARKANSAS, AL___DCLOCK Mi
AND BEING MORE PARTICULARLY APR 2 £ 1997
DESCRIBED AS FOLLOWS.

Bepinsing at the Sowthwest cons of said Section “RUTH TRENT, CURR

14; sai point lying slang the existing city henils of BY

 

the City of Marion, theace North along the Wert line
of said Section 14 » distance of 5220 feet. more or
less to the Northwest comer of said Section 14;
thence West slong the South line of sant Secfien £0
a distance of 2640 foet, nore or Ices to the South
i/4 cosner of said Somian 10; theace Nocih a
distance of 52.80.00 fost, aor’ of Ices 10.4 pout
bring te Nowh 1/4 covner of said Scctina 30;
theace East sloug the North line of Section. 10 to a
pout beat the Northeast corner of sid Section 10;
theace South aloog the: West line of szid Section 11
to « pont on the East RAW of 1-55, thence
Southeastwardly slong the east B/W of 1-55 toa
prosat onthe West finc of'said Lot 1¢ of said Spanish
Grant No. 2323; theace North along the West line of
said Lot 10 of sad Spanish Grant No, 2323 a
dittance of 1423.43 feet to the Nortivwest com: of
said Lot 1¢ of said Spanish Grant No. 2323; theace
Bast slong the North line af said Lot 10 of suid
Speurh Grant Mo. 2323 to the pomt of merection
of the North fine of said Lot 10 of sad Spann
Grant No, 2373 and the extended Wes tine of Lot 5
of ssid Spanish Grant No. 2323; thence
Southeastwanily along the West line of Lots 5 and 6
of cmd Spanish Grant No. 2323 to the Northwest
comer of Lot 7. of Spagish Grant No. 7323, thence
Nostheastveadly along the North fine of said Lot.7 3.
distance of 150.00 feet to the Northrest commer of
staid Lot 7, said point tying 00 the Wes RAW of
State Highway 77; thence Southeastwardly dong —
the West B/W of State Highway 77 te the Southeast - Sunayet Omar
comer of gsid Lot 10; thence West slong the South ~

line of said Lot 10 of Spanish Grant No 2323 to 2
point on the East RW of 1-55, thence

 

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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 13 of 36
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Uec-123-99 DE: LIA WILSON & VALLEY, Attys B70 338 8030
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interstate 55 to 2 point lying oa the South fine of
said Section 14; anid point lying alang the existing
City of Parion city linits; thence West along the
North line Of said Section 14 ¢0 the poiat of

PAUL COLEMAN, JR, By: .P. Cockiill under his Power of Attorney PETITRONERS
FOLIA C. COCERILL, By: LP. Cockrill uader his Pow of Attormy
HAZEL C. DICKEY, By. J.P. Cockrill under his Power of Attomey
ADOLPH PIRANT

MAXINE PIRANI

T, M. MONTGUMERY

ELSA A. LOGAN

ALL STATES FARM EQUIPMENT, INC By MERLIN NORTHCUTT
DEMAREE FARMS Ry: BILLIE J. RHOADS

RICTIARD WILLIFORD

KEITH ALLENSWORTH

CHARLES ALLENSWORTH

FRANK WREELER

 

Come Paul Coleman, Jr, by J.P. Cocknill under his Power of Attorney, Juda C. Cockrill,
by SP. Cockrifl under is Power of Attorney and Hazel C. Dickey, by JF, Cocks] ander his
Power of Attornry, Adolph Pirani, Maxine Pirani, TM. Montgomery, Flea A. Logan, All States
Farm Equipment, Inc., by Merlin Northcurt, Demacee Fanns, by Rillie I. Rhoads, Richard
Williford, Keith Allensworth, Chuics Alicasworth, and Frank Wheeler, and recpectiiilly petition
the County Court of Crittenden County, Arkansas, to annex the following described territory to
tre City of Merion, Crittenden County, Arkansas, to wit: .

AT22.72 ACRE TRACT OF LAND E-VING IN SECTIONS 50, HE, }4 nd LOTS
7 83, and 10 OF SPANISH GRANT NO. 2323, and FRACTIONAL SPANISH
GRANT NOS. 2323 AND 2325, 7-7-N, 8-4-E, CRITTENDEN COUNTY.
ARKANSAS, AND BEING MORE PARTICULARLY DESCRIBED AS
FOLLOWS:

Regamaing ot the Southwest comer of ssid Section 14; seid polnt lying along dhe
Sectite: 14 § disteane of SEB feet cocere 00 hase tthe Noxtinwent copper of weil
Sectifin 24; thence West along tee Soh: kee of etid Sectien.}0 2 detnnc of 240
feet, note OF Seas to Gee South 1At Cover of sekt Sectma: 10; tango North 2
distance of 520090 tet, aore on doe too punt beeng the Nortk 144 coromr of said
Section 10; thenes act alcug the hath lee of Section 10 too poter bang Ge
Nestbeass corner of said Section 20; thence South aboag the West linc of saad
Dec -13-o9 OS: 231A WILSON & VALLEY, Attys

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of Marion;
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Section 1} to g point om the Est RAW of E55; thence: Soudkcastwendly slong tic
cast RAW of 1-55 te port on the Wes bac of suid Lat V0 of anid Sonaich Giant
No. 7323. theate Notts ainag the West fine: of said Lot 10 of said Spenich Grant
No. 2323 » distance of 1424.45 foci iss the Moxthenest comet of said Lot 10 of said
Spanish Grant No, 2323: thence East alorg the North line af ead Lat 10 of said
Spaniiés Grant No. 2323 to the point of intcrarction ofthe North Gne of said Lot 18
of 9038 Spauitt: Grant No. 2323 tnd the coderched West lige of Lot § of said Spanish
7 ahasg the: West laws of Lots Saad 6 of saad
Spanish Grant No. 2323 1 the Northwest comar of Lat? of Spanish Geant No.
232), Kheains Noy Gitantwerctiy nlong the Newth kine of ext 2ot 7 a -distence of
450.00 fort 4c the Northeast comer of smd Lect T, said peaat lyingon the Weel Baw
of State Highway 77; thence Sauhoattemnity sinny the West B/W of Suse
Highwey 77 to the: Sovtneass conser tif sn Lot 10; Sieave West slong the: Sout
liye of said Lot 10 of Spanish Gram No. 2323 be ® poet on the Ean RAV of 1.55:
cnas Souibcaxtwanlly along Une Rest right-of-way of Intersisie 55 to a prin fying
‘30 the Souk tine of said Suction 14, said point lying aloag the existing Cay af
Moariva pity limits, thenoe West slong the: North lige of seid Section i4 it the pont
ming. COMksitdvy: 722.72 acres, were or tnsg,
CRITTENDEN COUNTY. ARFARSAS, to the CIry OF MARION,
ARKANSAS

PLi2
PILls"3s

In support of this Petition, the petitioners weld show sad state to the Court
that they constinite the owners of ail the luad iockuded within the description set forth above and
thos constitute the majority in surabcr of owners of such bunds proposed to be anmened tx tbe City

An acourate map of plat of such territory is attached hereto showing te extem
and boundaries of the terisory proposed to be annexed and the exiydng city Emits of the City af
Marion which sre contiguous to the territory te be annexed,

Petitioners’ agent hercin is lames C Male. TH;

The uaid territory proposed to be ennexod is edjacest and contiguous te the
presently existing boundaries of the City of Marion:
of the City of Marion.
Ir is right and proper art for the best ioterest of the City of Marion and the

zaasbitents Berect end the petitioner: hesein that euch territory be snnexed te the City of Masion.

WHEREFGRE, premises considered, your petaioners pray that the Court set a date

for heating upon this Petition whioh shall not be less than thirty (30) deys frum the Sling: terol
sad Ghat after suck bearing. ma Order be extered by the Court granting the Petition and anacxing

ok ‘the hercinshove described territory to the City of Marion, Arkaasas, aad for all other and sock
~ fiction relied as may be proper herein
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UL COLEMAN, IR

By: EP. Cocksill under hit Pewer of Attomcy

C. COCKRELL
By: 3.P. Cockiili ands: his Power of Attormy

hf: DECKEY >
By. 1-P. Cockrilf under his Power of Attomey

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ADOL?PH PANT

 

 
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STATE OF ARKANSAS i
I §
COUNTY OF CRITTENDEN i
PAUL COLEMAN, JB_by LP. Cockrill under his Power of Att as Tespects
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oath, states that fc is ose oF the petitioners bereis weal that the assetors and things vontaiond and
A tet, A tceoine Felon Wo Aes Hroperty tetrad cote 9 be ery
ser ts ,
E.: aotRr tat
=e Swz
ad °. ig3 AUL COLEMAN, JR.
saa “ee By: 5-P. Cacksill under his Power of Attomsy
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Ee sore sh C. COCKRIEL
ssi wm EE By: LP. Cockrill under bis Power of Attorney
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Se SOgSERBED AND SWORN to before me this 25" dayof fy Lte 45,-,
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NOTARY PUBLIC
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 17 of 36
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COUNTY or Lee be } ;
HATEL C. DICKEY, by 1.P. Cockrill under fis Power of Astorney, epon her oath, states

tate is one of the petitioners herein aud that the matters and things contained and set forth j
STAD intend foregoing Petition 10 Aunex ”

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se te are true and correct as she verily believes.
x, ; ROTARY Lae A |
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3: £. ig3 /€, DICKEY
Se TUM OES By. 1.2. Cochrill under bis Power of Attorney
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1997.
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VERIFICATION
STATE OF ARKANSAS =}
. } ss
COUNTY OF CRITTENDEN)
ADOLPH PIRANL, vpon his respective osth, states that he is one of the petitioners herein
and thay Ube oratters and things contained end set fort ai the above aad forcguing Potitiun to
ay ; ere true and correct as he verily believes,
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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 18 of 36

Dec-13-G9 O9:13A WILSON & VALLEY, Attys #270 323F 3020 P.1G
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VERIFICATION

STATE OF ARKANSAS }

)s
COUNTY OF CRITTENDEN}

MAINE PIRANI, upon ber respoctive oath, states that she is ave of the petitioner:

to Annex Property are true and correct as she verily believes.

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DSF iy, Peart .

hee INE PIRANI

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@ SURSERIBED AND SWORN to before me this /f“ day of bates’ 1997,
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STATE OF ARKANSAS}

COUNTY OF CRITTENDEN) *

; T. M. MONTGOMERY, upon bis respective oath, stetes that be is one of the petitioners
berein and that the matters and things contained and set forth in the above and foregoing Petition

ta Annex Property are true and correct a3 be i
Sento siete, o
sor, Sle foe Nm
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23, @ 355 Mi. MONTGOMERY "J
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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 19 of 36

Dec-i3-39 O9:13A WILSON & VALLEY, Attys O70 3238 Bo2z0 PL7
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VERIFICATION

STATE OF ARKAMeAS }
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COUNTY OF ER)
_ BLSAA. LOGAN, upon her respective oath, States that she is one of the pefitioness
hermen ond that the matters aad things contained sad sct forth in the sbove and foregoing Petition
to Asex Property are true and correct a5 she verily believes.

Chae Lgn ieragin Drecatic
ELSA A. LOGAN °

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gn et All. STATES FAR BOUB'MENT, INC
ac" Sete By: MERLIN NORTHCUTT

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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 20 of 36
Dec-13-39 O9:13A WILSON & VALLEY, Attys

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VERIFICATION
STATE OF ARKANSAS }

COUNTY GF CRITTENDEN }

he ‘ADS, upon his respective oath, states
one of the petitioners herein and that the matters and things contained aed ott finth ev the alone”
oot fprezoing Petition to Annex Property are true and correct as he verily believes
Fe NE io . .
So a 8 Ee ihaieDe veka”
for yr was DEMAREE FARMS
=3t oe is: By. BILLIE J. RHOADS .
Ga... SOBSCRIBED AND SWORN to before me his XOX A cling
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My Commission Expires:
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STATE OF ARKANSAS }
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COUNTY OF CRITTENDEN}

RICHARD WILLIFORD, upon his
to Annex Property are true and correct 93 he verily

Tespective oath, states thar ho is one of the petitioners

Set forth in the above end foregoing Feution
believes.

“Katee aged

 
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 21 of 36

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Ae Fete a
y,
VERIFICATION
STATE OF ARKANSAS }
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COUNTY OF CRITTENDEN;

KEITH ALLENSWORTH, ypon his respective cuth, states that be is one of the
Setitioncrs herein and that the matters and things cacktioed and set forth in the shove ated
foregoing Pettion to Aanex Property w¢ truc: aud correct a5 he verily bolicwes.

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STATE OF ARKANSAS =}
t
COUNTY OF CRITTENDEN}
CHARLES ALLENSWORTH, upon his respevtive ontls, states that he ip one of the

Forcgping Pete to Amex Property sre true and correct a4 he vecily balieves.

CHARLES ALLENSWORTH
SURSCKIBEDY AND SWORN to before me this (27% dey of Ce or

pe.

 

 

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FRANK WHEELER, upon his retpantive onth, stator thet he is one of the petitioner:
berew aad thet the matters aed tings comuaiicd sxx} set forth im the above and foregoing Petkion
‘10 Ampex Property ate tree end correct 23 he verily believes,

     

    

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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 22 of 36

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IN THE COUNTY COURT OF CRITTENDEN COUNTY, ARKANSAS

IN THE MATTER OF ANNEXATION OF: OL
A 722,72 ACRE TRACT OF LAND LYING IN

SECTIONS 10, 11, 4 ani LOTS 7 8,9, and 10 OF Lo Gt- SL

SPANISH GRANT NO, 2323; and FRACTIONAL

SPANISH GRANT NOS_237t AND 2325, T-7-N,

‘RE, CRITTENDEN COUNTY, ARKANSAS,

AND REING MORE PARTICULARLY

DESCRIBED AS FOLLOWS: FILED *
Begining af the Squtlrwest comer of said Soction gunk ——
14; said point lyatg along the etizting city lealts of iw

the City of Manion, thease North slong ihe West line

we a . *
of said Section 14 » distance of $280 feet, more oF

irk
less to the Northwest comer of said Section 14, aan HEN “ oT
thence West along the South lire of said Section 10 at ee
a distance of 2640 feet, more of test to the South —

Hd comer of said Section 10; thence North «

distance of £240.00 feet, more or ess tp = point

heing the North 0/4 comer of said Section 10,

thence East sloug the North kne of Section 10 to a

pout beng the Northeast corner of ski Section 10,

thence South plong the West line of said Section 11

to a point on the East B/W of 1-55, thence

Southeastwandly along the east R/W of 1-55 to 2

pout on the West line of suid Lot 10 of said Spanish —

Grant No. 2323; thence North along the West fine of wraae
said Lat 10 of said Spanish Grant No. 2323 a
distance of 1473 43 feet to the Nocthorest commer of
sani Lot 19 of seid Spanish Grant No. 2323, theace
Gast sdemy the North line of said Lot 10 of sad
Spanish Greet No. 2335 gp the point of intersection
of the North fine of seid Lot 10 of sexd Sparnsh
Grest Mo. 2323 and the eccoded West ne of Lot 5
of sad Spanish Grant No. 2323; thence
Souticastwandly along the West line of Lots 5 2nd 6
of said Spanish Gram No. 2373 to the Northwest
waraet of Lot 7 of Spanish Grant No. 2723; thence
Northessiwardly alouy the Noch line of said Lot 7 2
distance Of 150.00 feet to the Nostheast camer of
said Lot 7, said point fying on the West B/W of
State Highway 77; thence: Southeasiwardly wong
the West B/W of State Highavay 77 to the Southeast
corner of said Lot 10; thence West along the South
impe of said Lot 10 of Spanish Grant No. 2373 to &

 

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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 23 of 36

Bec.-13-99 O8S:17A WILSON & VALLEY, Attys B70 338 e030 P.O2

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STATE OF ARKANSAS }
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COUNTY OF CRITTENDEN)

_ FRANK WHEELER, upon his respective oath, states thet he is one of the petitioners
berein and thet the mauers acd things contained and set forth in. the above and fornpcing Petition
to Annex Property are true and correct as he verily believes.

March
_ day of fanmary, 1997.

 
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 24 of 36
Dec-13-959 09:18A WILSON & VALLEY, Attys B70 338 8020 _.. B.a3

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pot on the East R/W of 1-55: thence Oo
Southcastwardly along the East right-of-way of

Literstate 55 to 3 point lying on the South bne of

mand Section 14, said point lying along tre esting

City of Marion city limits; hence West along the

North line of said Scction i4 to the puint of

begianing, cootaining 422.72 acres, more ot less,

CRITTENDEN COUNTY, ARKANSAS, to the

CIFY OF MARION, ARKANSAS

PAUL COLEMAN, JR, By: LP. Cockrill umter his Power of Attomey PETITIONERS
FULIA ©. COCKRILL, By: FP. Cockrill under his Fower of Attonnsy
RAZET.C. DICEEY. By. LP. Cock under his Power of Ationy
ADOLPH PIRANI

MANINE PIRANT

T. MM. MONTGOMERY

ELSA A. LOGAN

ALL STATES FARM EQUIFMENT, INC. By: MERLIN NORTHCUTT
DEMAREE FARMS By: BILLIE J RHGADS

RICHARD WILLIFORD

KEITH ALLENSWORTH

CHARI ES ALLENSWORTH

FRANK WHEELER

Now on this 27th day of May, 1597, this matier came on for bearing. Theo petdioners
represented by god through their attorney, James C. Hale, Ti. Tic City of Sunset appeared by
and through its atromey, Marva Davis. The matter was subsuitied to the Coust upon tire
Cay of Sunset. From a review of the plendings, the exhibits, testimony presented, argument of
counsel for the Petitioners and the City of Sunset sad other mustters and things appearing to the
Court, the Court doth find as follows:

I. That rhe Court twkes notice of the fact that the City of Sunsct passed an ordinance
(6 annex certain real property thet may be included in the property that is the subject maatice of
Dec-13-993

Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 25 of 36
OD: 1BA WELSON & VALLEY, Attys B70 323R 8030 #.04

2. ‘That the Court finds that there is no basis for delaying the property owners OC

3. That the bearing dais is not less than thirty (30) days afier the filing of the petition
ashing for such anoexation, that between ihe time of the filing of the petition and the date of this
hearing, the petitioner has cansed notice to be published in the Fvening Times, x newspaper
published in Crittenden County, Arkansas, which has « gencral circulation in this county, Ofte 4
week for three (3) consecutive wesks in compliance with A.C_A. 14-40-602.

4. That the notice published in this annexation proconding contains Gie substance of
Sit petition ara also the time aad place fixed by this court for a tearing upon the petition in
compliance wiih ALA. 14-49.602.

3 ‘That the court finds thet a majoriry of real estate owners oF the lands to be annexed
consists of tin; folowing persons or entities:

PAUL COLEMAN, JR.

JULIA. C. COCKRILL

HAZEL C. DICKEY

ADOLPH PIRANI

MAXINE PIRANT

T_M. MONTGOMERY

ELSA A LOGAN

ALL STATES FARM EQUIPMENT, INC.
DEMAREE FARMS

RICHARD WILLIFORD

KEITH ALLENSWORTH

CHARLES ALLENSWORTH

FRANKS WHEELER

The Court father finds that 2 majority of the real estate owners have joined in the petition

aod keve suugts the comt's approval of the propoved annexation in compliance with ACA 14-
a.601.
_Dec-is-33 G9: 1BA WILSON & VALLEY, Attys #70 338 BO30 _P.05

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Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 26 of 36

6. That the allegations of the petitions filed with the court are sustained by the proof
and in particular, the petitioners constitute » majority of the coal estate owners of the lands to be
annexed a5 described in the petitinn and i: accordance with ACA. 16-40-4601 (9). That the area
10 be annexed is contiguous to the existing city lente of Marion, Arkansas, Thet the live of the
lexFitory requested by the petitioners to be annexed to the City of Marion, Arkansas, are
accurately described. An sceurte map or plat of the tenvitory requested by the petitioners to be
sanexed to the Cay of Marion, Arkensas, has been Ried herein, and the peayer of the petitioners is
wight aod proper and should be granted.

if IS THEREFORE, BY THE COURT, CONSIDERED, ORDERED AND ADJUDGED
THAT the allegations in the Petitioners petition were yurtained by the proof and ther the
Tequifements set forth in ALC.A, 1440-601, 14-40-4072 and 14-46-6603 bave been complied with:

‘that the petition of Paul Coleman, ir, by FP. Cockrili under his Power of Attomey, Julie C.

Cocknili, by FF. Cockrell under his Power of Attorney, Hazel C. Dichey, by JP. Coctrill under his
Power of Attomey, Adolph Pireni, Maine Pirani, TM. Montgomery, Elsx A. Logan, AB States
Farm Equipment, Iac., by Merlin Norhoutt, Demarce Farms, by Bile J. Rhoads. Richard
Williford, Keith Allensworth, Charles Alleesworth, and Frank Wheeler, for annexation af the
should bc, and the same hereby is, annexed to the Ciry of Marion, Arkansas, as follows, t0-wit:

AJ2272 ACRE TRACT OF LANDS LYING IN SECTIONS 10,11, M4 sad LOTS
¥ &9. and 10-OF SPANISH GRANT NO 2327, asd FRACTIONAL SPANISH
GHANT NOS,.2373 ANU I325, 7-7-4 K-2-E. CHITTENDEN COUNTY.
ARKANSAS, ANT BEING MORE PARTICULARLY DESCRIBED aS
FOLLOWS.
Bogponing of the Sowdreres, conner of seit Suctiog 14; paid poset bying slong the
existing cy Ruaits of tre Cire of Marion: thence North along the Weer ine of said
. Section 4 a: distance of 5780 fect, marcar eas te the Northewesl comer of said
Section 14: thrice Wet slong tie South Kae of said Section {0 0 distence of 240
fees, sucwe cr fens be the Goeth 144 commcr off ssid Section, 1); Hatin Nop»
diriance of STEO0G Lect, noone ur kets 1-8 pains Deg te: Horta 14 comer of seit
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 27 of 36

_Dec-13-99 09:1BA WILSON & VALLEY, Attys B70 336 8030 - ee

Sottite: 10; theane Ean slong the North tine of Section tO to « poiat being the

Nontbvast corner of suid Seouins 10, thenne South sheng (ac West line of Cat hi
Section 11 4s m prs on Oe Eat RAW of 1-55: thence Soutncantwandly along the .
Cas RAW of 1535 to 2 point ont the West tine of sued Lat 1 of naid Spanish Grane

Spanish Grem No 2373 16 the Northwest come of Lot? of Spanish Grant No,
2323; tance Narthrastwandly wag the Mocth Line of axed Lot 7 0 distecwe: of
150.06 Set t0 the Northeast comer of end Lox 7. said poi lying oa the West UW

vf Suite Higheny 77; thane Southeasheandly along the West RAV of State
Highway 77 ta the coetty of sand nt 50, dheace West slong the South
her of sald Lot FO of Spanish Grae No. F424 tou poles on thee Bem UW of 55;

ARKANSAS, to the CITY OF MARIUN, ARKANSAS
IT IS FURTHER ORDERED THAT no further action be taken for 3 petiod of thany (30)
days ss provided by law to allows the iastitutioa of proceedings to prevent such annexation if eny
interested party should dosits to take such action under the provisions of the taws of this Stare
and, sccondingly, this cause is contiaued until the Zs_ day of lice <<. _, 1997, fos fnttus
SPPIONHMG action a3 provided by law.
DATED this of? day of May, 1997

 
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 28 of 36
_, BC -13-39 OS:19A WILSON £& VALLEY, Attys B70 328 BO3S0 OF

Paerrao
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eS
RESOLUTION NO. ZA &
A RESOLUTION OF THE CITY COUNCIL OF MARION, ARKANSAS
DECLARING THE ADOPTION AND PASSAGE OF THE ANNEXATION
OF A 722.72 ACRE TRACT OF |.AND- ANNEXED TO THE CITY OF.
MARION BY ORDER OF THE CRITTENDEN COUNTY COURT.
CASE NO. CO-97-52, ON MAY 27, 1997

WHEREAS, on May 27, 1997, the Crittenden County Court, in Case No, CO-97-52,
entered an Order, pursuant io A.C A. 14-4060, aARCEg & certain tract of land consisting of
722.72 acres, more or less, to the city of Mezion. a copy of such anmexetion order beg attechad
hereto, labeled Attachment "A", and incorporated by reference heroin as though set forth werd for
word;

WHEREAS, pursuant to ACA. 14-40-608, the City of Hiazioa ws required tu accept the
POposod auexation by Ordirance ot Resolution,

WITEREAS, the Cay of Marion desires to accept the 722 72 sere tract of land and said
{and shall be doctared a past of the City of Marion, Arkansas in compliance with the requirements
set forth in A.C_A. 1440-605 and 14-40-606,

NOW, THEREFORE, BE IT RESOLVED RY THE CITY COUNCIL OF THE CITY
OF MARION, ARKANSAS, THAT-

SECTION [; Pursuant io ACA. 14-40.605 and 14-40-6096, the City of Marion herchy
acoepts the annoxation of the 722.72 acres set forth in the Onder Granting Annexation entered by
the Criteemden County Court, Case No. COb¥7.$2, on May 27, 1997.

SECTION 2: The ienitory being annexed to the City of Marion, Ackansas iz chat territory
ott forth in Attachment "A* beret, wtech is inconzoruted by reference bereia aad made a pact
heseof as though set forth word for word.

SECTION 3: That in passing this Resolation, se wmexation of the describe 722.72

Em “co
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 29 of 36
Dec- 13-9 ee 1gA _WELSON & VALLEY, Attys 8270 335 so30 P.OB

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actes be adapted and passed and that, PUCSUER 1g ALLA. 1600-605 and 14-40-0606, the
described 722.72 acres is deemed and taken to br « part and parucl of the inits of the city of

SECTION 4: This Resolution shall be in full force and effect fiom and after the date of its
passage ind approval,

PASSED AND ArPmovin dict?“ day of ae 997

    

 

i CEMPIPY THAT THES IS A TRUS AND CORRECT ccey
ZL. /4/,

Lak. 4b

* Clerk treme,
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 30 of 36

Dec- 14-39 OF: FLA WILSON & VALLEY, ALty= B70 3238 8030 F.0D
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ALL STATES FARM EQUIPMENT. INC By: Mein Nostheutt

. DRDER

On this 2_ day of Octobes, 1997, cous before the Court, the Defendants, Cty of
Marion Paul Coleman I, Solis C. Conti, Hazel C. Dickey, Adolph Pican, Maine Pir T.
MM. Montgomery, Elta A, Logan, All States Farm Equiproeat, Inc., Demarey Farms, Richard

Walford, Keith Allessworth, Ctaries Allensworth and Fraak Wheeler, (hareinaer ceftzred ta x

Oeteadaats) by aed theough this sttraey Fasacs C. ake, I, and five the Defiadanrs Motion 1
Dismiss Pursuant to Rube 12(6\1), 12(6}(5) and 12(6}(6) of the Arkansas Rules of Civi
Procedure, tt Plaitiffs Motion to Exiend Tirne to Antwer and otkec mstters before the Court
the Court doth find:

1. That oa May 27, 1997, 49 Order was entered by Brian Witinns, Couaty Jodap fot
Ceitenden County, Arkansas, sumexing 722.72 acces of land inte the City of Marion, Arkansas
pursivant 10 Arkeoses Code Annotate! §14-40-40) et-3eq in Case Ne. CO-97-$2,

Ey SDs
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 31 of 36

Bec-2S-G9 09:21A WILSON £ VALLEY, Attys B79 33H 8as0 P.O?
” HOE AC EL P3343

z, _ That on June 27, 1997, the Paint. City of Sunset, fled an Appeal fiom the
Desiion of County Hudge Allowing Amexation of Cesin Propetea and Complsint 10 Stop Sei
Amneration, challenging the Muy 27, 1997 snaeaation Oxder in the Ciseuit Coust of Crittenden
County, Arkansas in Case No, CTV-97.-463.

3. That 98 of Ociober 2, 1997, the Praintiff’ City off Sunset, has not filed nor had
summons isexed in this couse of action,

4, That as of October 1, 1997, the Plaintiff bas noe caused the Conapli to be served
en ny epoca & agem of the City of Marin sor any ofthe inva Defend
tandowners of their agents in this cause of action

5. Thar the Chay of Sunset is not a residem of Marion, Crittenden County, Artanca

6. That the City of Sunset owns no land located in the 722.72 weres annexed ina the
City of Marion pursuant to the May 27, 1997 Annexation Order.

7 That the Plaintiff was served the Defendants motion to Dismiss and on August 7,
1987 Sted s Mos far Adidioral Time to File Plaintiffs Response to the Motions to Dismiss
filed by the Defeadans.

3 That wx of Oczober 2, 1997, no Onder to Extend Time to Answer the Defendent

9 That although being duly served, the City of Sunset, has failed to fle a respousive
pleading, answer the Defendaats Motions to Dismiss ar request » heaving on the Defendants
Motions to Dismiss.

10. That on May 27. 1997 pursuant ta Arkansas Code Annotated §14-40-601 ef. seq.
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 32 of 36
ec-13-939 Ca: 21lA WILSON & VALLEY, Attys B70 338 S030 i wee?

-%

the County Judge for Crittenden Coumy, Arfuinses, Brian Williams entered an order snnexing 2
: 722-72 sere wact of tant into the city of Marion, Atkarsas in Case No. CO-97.52.
. EL That Arkansas Code Annotated §14-60-601 et seq, is the controlling amaexation
law in voluatiry annexation provocdings.

12, That Arkatsas Code Annotated §14-40.604 and 34-40-05, sets forth the
SSEAOTY Provedure by which an interested parry may challenge or prevent 2 voluntary annexation

13. That Arkansas Code Annotated §14-40-504{aXb} aad Arkansas Code Annotated
§14-40-605(4) requires an interested parzy to give notice to the City of incorporized town
authorities and ayeats ofthe pettioncrs witha tity (20) days of the Order of Annexation bythe
Comuy Coot or the annexation shalf be confirmed.

14. That s Complaint challenging 2 vokmtary annexation pursuant to applicable
tututes is sot an appeal but an independent scion and the required aotice means service of
process pursuant 16 Rule 4 of the Arkansas Rules of Civ Procedure.

16. ‘That the Cay of Sunset fated to serve any of the Defendarx individual landowners
Ye ae Hom te iy of son within iy 30 ay afer te May,
1997 annexation order was entered in Case No. CO-97.62

17. That the Plaintiff failed to give notice ta the City of Marion or ay of the
; Diefeodant individual landowners as required by Arkauses Code Anaciated §14-40-605(0). The
Piaintifts Complain: is untimely sad dismissed with prejudice

18. Thm the City of Sunset is not an interested party and has vo standing t0 challenge
the May 27, 1997 Annexation Onder.

TE IS THEREFORE ORDERED that the Piaimiffs June 27, 1997 Appeal fegua Deciaizs
+7 County Ridge ABowing Amexation of Certain Proparties and Complaint to Step Said
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 33 of 36
Bec ia-3o US:22A WILSUN & VALLEY, Attys B70 338 Bo30 FP .O4

"6 am AF

Annexation challenging the May 27. 1997 Order of Annexation in Crittenden County Cas: No
€X)-97-$2 is hereby dismissed with prejudice

HONORABLE DAVID BURNETT

wnt Oleley
BATE : —
Case 3:99-cv-00469-SMR Document1 Filed 12/13/99 Page 34 of 36
Dec 13-99 OS: 0GA WILSON & VALLEY, Attys 870 _ 338 8030 P.O3

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IN THE CIRCUIT COURT OF CRITTENDEN COUNTY, ARKANSAS

CITY GF MARION, PLAINTIFFS
RICHARD WILLIFURD

PAUL. COLEMAN 3R., by LP. Cockrill under his Power of Attorney

FULIA C. COCKRILL, by 1P. Cockrill under his Power of Attorney

and HAZEL C. DICKEY, by LP. Cockrill under his Power of Attiomey

¥S. NO, CIV 97-419
CITY OF SUNSET. and DEFENDANTS
De SOHN GRIFFEE ,
ROOVER WILLIAMS,
ami SCOTT FERGUSON
SUMMONS
PLAINTIFPS ATTORNEY: James C. Hale, If. Marion City Attorney, 66 Mound City

Road, Marion. AR 72364
THE STATE OF ARKANSAS TO- City of Sunset, Mayor Jamer Wilburn, Sunser, AR
NOTICE

| 1. You are hereby notified thet lawsuit has heen Sled gexinet you: the relicf asked js stated
in the attached Complaint.

z. The attached Complaint will be considerad admitted by you aid a judgment by defauk
amay be cotesed agaigst you Jor te relief asked fot iu the Complaini uniess you file a
picading apd ibercalice appew and presen your defense. Your picading of answer must

A. it must be in Writme, and otherwise comply with the Aricansag Rules of Civ
Prowedure.

B. Tt must be fled in the Court Clerk's office within twenty (29) days from the day
you were served with this Summans.

3. If you desire te be represented by an attomncy you should immediately cogtect your
sforney ao Ural an atewer can be filed fer you vathin the time allowed.

WITNESS my hand and seal of this Court shis SG Pin, hh 1999.
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IN THE CIRCUIT COURT OF CRITTENDEN COUNTY, ARKANSAS

CITY OF MARION, RICHARD WILLIFORD
PAUL COLEMAN JR., by J.P. Cockrill under his
Power of Attorney; JULIA C. COCKRILL, by J.P. Cockrill
under his Power of Attorney; and HAZEL C. DICKEY,
by J.P. Cockrill under his Power of Attorney PLAINTIFFS
VS.
CITY OF SUNSET, and DR. JOHN GRIFFEE,
HOOVER WILLIAMS, and SCOTT FERGUSON DEFENDANTS
NOTICE TO PARTIES AND STATE COURT OF REMOVAL

In accordance with 28 U.S.C. § 144t({a) and 1446(d), the Defendants, in their
official capacities, hereby give notice that the above styled and numbered cause has been
removed to the United States District Court for the Eastern District of Arkansas, Eastern
Division. A true and correct copy of the Notice of Removal filed with the Clerk of said

Court is attached hereto as Exhibit “A” and incorporated herein by reference.

DATED this 10“ day of December, 1999.

Respectfully submitted,

 

By:

 

Andre’ K. Valley 7 a
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EN THE CIRCUIT COURT OF CRITTENDEN COUNTY, ARKANSAS
CITY OF MARION, RICHARD WILLIFORD
PAUL COLEMAN JR., by J.P. Cockrill under his Power of Attorney
JULIA C. COCKRILL, by J.P. Cockrill under his Power of Attorney
and HAZEL C. DICKEY, by J.P. Cockrill under his Power of Attorney PLAINTIFFS
Vv. NO. CIV. 97-419
CIFY OF SUNSET, and
DR. JOHN GRIFFEE,
HOOVER WILLIAMS,
and SCOTT FERGUSON DEFENDANTS
MOTION TO DISMISS
Come the defendants, through their counsel, WILSON & VALLEY, Attorneys at
Law, and for their motion to dismiss, state:
1. That Mandamus will not allow to compel negative acts of an Administrative
officer.
2. That the proper petition would be in the form of Writ of Prohibition.
3. That Mandamus will not allow for enfarcement of discretionary act.
4, That Mandamus only allows for the enforcement of for clear and enforceable
right and not for the purpose of establishing a right.
5. That Mandamus will not allow for the enforcement of an unconstitutional
stalule or action.
6. That no cause of action is stated pursuant to Rule 12 (b)(6) of the Arkansas
Rules of Civil Procedure.

Z. That the pleadings of the plaintiffs are conclusionary and do not comport

with the Rule 8 (a) of the Arkansas Rules of Civil Procedure
